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8                                 UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA
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11   GREGORY EDISON,                               )   Case No.: 1:12-cv-02026 - AWI - JLT
                                                   )
12                 Plaintiff,                      )   ORDER AFTER NOTICE OF SETTLEMENT
                                                   )   WITH THE UNITED STATES OF AMERICA
13          v.                                     )
                                                   )   (Doc. 134)
14   UNITED STATES OF AMERICA, et al.,             )
                                                   )
15                 Defendants.                     )
                                                   )
16                                                 )

17          The plaintiff reports he has settled the action with defendant United States of America. (Doc.
18   134) Thus, the Court ORDERS:
19          1.     Plaintiff SHALL file a stipulation to dismiss or a motion to dismiss defendant United
20   States of America, as provided by Fed. R. Civ. P. 41, no later than August 17, 2018.
21          The parties are advised that failure to comply with this order may result in the Court
22   imposing sanctions, including the dismissal of the action.
23
24   IT IS SO ORDERED.
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        Dated:    June 14, 2018                              /s/ Jennifer L. Thurston
26                                                     UNITED STATES MAGISTRATE JUDGE

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